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5
     Attorneys for Defendant
6    FRANCISCO ZEPEDA PULIDO
7
8                             UNITED STATES DISTRICT COURT
9                            EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,       )       No. 2:10-mj-192 EFB
                                     )
11             Plaintiff,            )       STIPULATION AND ORDER
                                     )       TO CONTINUE PRELIMINARY HEARING
12        v.                         )
                                     )       Date: July 20, 2010
13   FRANCISCO ZEPEDA PULIDO,        )       Time: 2:00 p.m.
                                     )       Judge: Hon. Kendall J. Newman
14             Defendant.            )
                                     )
15   _______________________________ )
16        The parties hereby stipulate and request that the Court continue
17   the preliminary hearing scheduled for July 20, 2010, at 2:00 p.m., to
18   August 3, 2010, at 2:00 p.m., before the duty magistrate judge.
19        Counsel for Mr. Pulido requires additional time to review
20   discovery and confer with Mr. Pulido.
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1         The parties agree that the above reasons constitute good cause to
2    extend the time for preliminary hearing under Fed. R. Crim. P. 5.1, and
3    that the Court should extend the time within which the government must
4    file an indictment to August 3, 2010.         See 18 U.S.C. § 3161(h)(7)(A)
5    and (B) [Local Code T4].
6                                             Respectfully submitted,
7    Dated: July 19, 2010                     DANIEL J. BRODERICK
                                              Federal Defender
8
                                              /s/ M.Petrik
9
                                              MICHAEL PETRIK, Jr.
10                                            Assistant Federal Defender
11
12   Dated: July 19, 2010                     BENJAMIN B. WAGNER
                                              United States Attorney
13
                                              /s/ M.Petrik for Daniel S. McConkie
14
                                              DANIEL S. McCONKIE
15                                            Assistant U.S. Attorney
16
17                                        O R D E R
18        Upon finding good cause, the Court orders the preliminary hearing
19   continued to August 3, 2010, at 2:00 p.m., before the duty magistrate
20   judge; and, time excluded as set forth above for the reasons set forth
21   above.
22        IT IS SO ORDERED.
23
24   Dated: July 19, 2010                           /s/ Kendall J. Newman_____
                                                    HON. KENDALL J. NEWMAN
25                                                  United States Magistrate Judge
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